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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                            Case No.: 22-20965-CIV-ALTONAGA/Torres

  MILAM AIRPORT PARK
  CONDOMINIUM ASSOCIATION, INC.,

          Plaintiff,

  v.

  ARCH SPECIALTY
  INSURANCE COMPANY,

        Defendant.
  ___________________________________/

                   PLAINTIFF, MILAM AIRPORT PARK CONDOMINIUM
                   ASSOCIATION, INC.’S CERTIFICATE OF INTERESTED
                  PERSONS AND CORPORATE DISCLOSURE STATEMENT

          Pursuant to Rule 7.1, Federal Rules of Civil Procedure and all other applicable law,

  Plaintiff, Milam Airport Park Condominium Association, Inc., (“Plaintiff”), hereby files its

  Disclosure Statement and states as follows:

          1.      The name of each person, attorney, association of persons, firm, law firm,

  partnership, and corporation that has or may have an interest in a party to this action or in the

  outcome of this action, including subsidiaries, conglomerates, affiliates, parent corporations,

  publicly-traded companies that own 10% or more of a party’s stock, and all other identifiable legal

  entities related to a party:

          DISCLOSURE:

          Plaintiff, Milam Airport Park Condominium Association, Inc.

          Defendant, Arch Specialty Insurance Company



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         Plaintiffs’ counsel, Michael J. Friedman, Esq., Michael R. Billings, Esq., Friedman

         Legal

         Defendant’s counsel, Justin W. Sblano, Esq. and Christopher M. Ramey, Esq., Butler

         Weihmuller Katz Craig LLP

         Milam Airport Park Master Association, Inc.

         Milam Airport Park I Condominium Association, Inc.

         Milam Airport Park II Condominium Association, Inc.

         Milam Airport Park III Condominium Association, Inc.

         Milam Airport Park IV Condominium Association, Inc.

         Milam Airport Park V Condominium Association, Inc.

         Milam Airport Park VI Condominium Association, Inc.

         2.      The name of every other entity whose publicly traded stock, equity, or debt may be

  substantially affected by the outcome of the proceedings:

         DISCLOSURE: Unknown.

         3.      The name of every other entity which is likely to be an active participant in the

  proceedings, including the debtor and members of the creditors’ committee (or if no creditors’

  committee the 20 largest unsecured creditors):

         DISCLOSURE: Unknown

         4.      The name of each victim (individual and corporate), including every person who

  may be entitled to restitution:

         DISCLOSURE: Unknown.

         I certify that I am unaware of an actual or potential conflict of interest involving the District

  Court Judge and Magistrate Judge assigned to this case and I will immediately notify the Court in



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  writing upon learning of any such conflict.

                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 20, 2022, the foregoing was filed electronically using the

  Court’s CM/ECF system and served electronically upon: Christopher Ramey, Esq., Justin Sblano,

  Esq., Butler Weihmuller Katz Craig LLP, 400 North Ashley Drive, Suit 2300, Tampa, Florida

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                                                Respectfully submitted,


                                                /s/Michael J. Friedman
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